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     Research LLC, Dfinity Foundation and
17   Dominic Williams

18                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19

20   DANIEL VALENTI, Individually and on Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
21                                                       DEFENDANTS’ REQUEST FOR
                                 Plaintiff,              JUDICIAL NOTICE IN SUPPORT
22                                                       OF MOTION TO DISQUALIFY
               v.                                        ROCHE FREEDMAN LLP
23

24   DFINITY USA RESEARCH LLC, DFINITY                   Date: November 17, 2022
     FOUNDATION and DOMINIC WILLIAMS,                    Time: 10:00 a.m.
25                                                       Courtroom: 11, 19th Floor
                                 Defendants.             Judge: Hon. James Donato
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                            DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
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 1                                REQUEST FOR JUDICIAL NOTICE

 2          PLEASE TAKE NOTICE THAT pursuant to Federal Rule of Evidence 201, Defendants
 3   Dfinity USA Research LLC, Dfinity Foundation and Dominic Williams hereby request that the
 4   Court take judicial notice of the following documents in support of Defendants’ Motion to
 5   Disqualify Roche Freedman LLP. The exhibit references correspond to the exhibits attached to
 6   the Declaration of Kevin J. Orsini (“Orsini Decl.”) filed concurrently herewith:
 7          Exhibit 1: True and correct copy of an August 26, 2022 article titled Ava Labs
 8   (Avalanche) attacks Solana & cons SEC in evil conspiracy with bought law firm, Roche
 9   Freedman, available at https://cryptoleaks.info/case-no-3.
10          Exhibit 2: True and correct copy of the Notice of Withdrawal of Kyle W. Roche as
11   Counsel, filed in Young v. Solana Labs, Inc. et al., 22-cv-03912 (N.D. Cal.) (September 1, 2022)
12   (ECF No. 28).
13          Exhibit 3: True and correct copy of the Notice of Withdrawal of Kyle W. Roche as
14   Counsel, filed in Lockhart v. BAM Trading Services Inc., et al., 22-cv-03461 (N.D. Cal.)
15   (September 1, 2022) (ECF No. 33).
16          Exhibit 4: True and correct copy of the Notice of Withdrawal of Kyle W. Roche as
17   Counsel, filed in Jeong v. Nexo Financial LLC, et al., 21-cv-02392 (N.D. Cal.) (September 1,
18   2022) (ECF No. 70).
19          Exhibit 5: True and correct copies of the following documents filed in Hardin and
20   Williams v. TRON Foundation, et al., 20-cv-02804 (S.D.N.Y.):
21                  Notice of Motion to Withdraw as Counsel (August 31, 2022) (ECF No. 88);
22                  Response to Motion to Withdraw as Counsel (September 13, 2022) (ECF No. 89);
23                  Reply to Response to Motion to Withdraw as Counsel (September 19, 2022) (ECF
24                   No. 92);
25                  Response to Motion to Withdraw as Counsel (September 20, 2022) (ECF No. 93);
26          Exhibit 6: True and correct copy of the Notice of Motion to Withdraw as Counsel, filed
27   in Anderson, et al. v. Binance, et al., 20-cv-02803 (S.D.N.Y.) (August 31, 2022) (ECF No. 80).
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 1          Exhibit 7: True and correct copies of the following documents filed in Messieh v. HDR

 2   Global Trading Ltd., No. 20‐cv‐3232 (S.D.N.Y.):

 3                 Notice of Motion to Withdraw as Counsel (August 31, 2022) (ECF No. 105);

 4                 Defendants’ Response to Motion to Withdraw as Counsel (September 2, 2022)

 5                  (ECF No. 106);

 6                 Response to Motion to Withdraw as Counsel (September 6, 2022) (ECF No. 107);

 7                 Response to Motion to Withdraw as Counsel (September 9, 2022) (ECF No. 108);

 8                 Reply to Response to Motion to Withdraw as Counsel (September 9, 2022) (ECF

 9                  No. 109).

10          Exhibit 8: True and correct copies of the following documents filed in In re Tether and

11   Bitfinex Crypto Asset Litigation, 19-cv-9236 (S.D.N.Y.):

12                 Notice of Motion to Withdraw as Counsel (August 31, 2022) (ECF No. 229);

13                 Response to Motion to Withdraw as Counsel (August 31, 2022) (ECF No. 230);

14                 Response to Motion to Withdraw as Counsel (September 1, 2022) (ECF No. 231);

15                 Reply to Response to Motion to Withdraw as Counsel (September 2, 2022) (ECF

16                  No. 232);

17                 Affidavit of Kyle W. Roche (September 2, 2022) (ECF No. 232-1);

18                 Reply to Response to Motion to Withdraw as Counsel (September 2, 2022) (ECF

19                  No. 233);

20                 Response to Motion to Withdraw as Counsel (September 2, 2022) (ECF No. 234);

21                 Response to Motion to Withdraw as Counsel (September 5, 2022) (ECF No. 235);

22                 Reply to Response to Motion to Withdraw as Counsel (September 6, 2022) (ECF

23                  No. 236);

24                 Response to Motion to Withdraw as Counsel (September 30, 2022) (ECF No.

25                  248).

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 1          Exhibit 9: True and correct copies of the following documents filed in Williams v.

 2   Block.one, et al., 20‐cv‐2809 (S.D.N.Y.):

 3                 Memorandum Opinion on motions for final approval of class action settlement and

 4                  attorneys’ fees (August 15, 2022) (ECF No. 146);

 5                 Notice of Motion to Substitute Lead Plaintiff and to Approve Lead Counsel (August

 6                  22, 2022) (ECF No. 148);

 7                 Memorandum of Law in Support of Motion to Substitute Lead Plaintiff and to

 8                  Approve Lead Counsel (August 22, 2022) (ECF No. 149);

 9                 Notice of Motion to Withdraw Roche Freedman LLP (September 1, 2022) (ECF

10                  No. 154).

11          Exhibit 10: True and correct copy of the Motion to Disqualify Roche Freedman LLP,

12   filed in Kleiman v. Wright, No. 22-11150 (11th Cir. September 6, 2022).

13          Exhibit 11: True and correct copy of the Verified Complaint, filed in Cyrulnik v. Roche

14   Freedman, et al., No. 2021-5837-CA-01 (Fla. 11th Cir. Ct., Mar. 9, 2021) (Dkt. No. 2).

15   I.     ARGUMENT

16          Federal Rule of Evidence 201 permits the Court to take judicial notice of “a fact that is

17   not subject to reasonable dispute because it: (1) is generally known within the trial court’s

18   territorial jurisdiction; or (2) can be accurately and readily determined from sources whose

19   accuracy cannot reasonably be questioned”. Fed. R. Evid. 201(b).

20          Exhibit 1 is a true and correct copy of an online article titled Ava Labs (Avalanche)

21   attacks Solana & cons SEC in evil conspiracy with bought law firm, Roche Freedman,

22   containing video clips and images that was published to the website CryptoLeaks.info on August

23   26, 2021. “[A] court may take judicial notice of publicly available newspaper and

24   magazine articles and web pages” to determine “what was in the public realm at the time”.

25   Reynolds v. Binance Holdings Ltd., 481 F. Supp. 3d 997, 1002 (N.D. Cal. 2020). The video clips

26   contained in Exhibit 1 can be accessed on the web at the hyperlinks provided in Defendants’

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 1   Motion to Disqualify Roche Freedman, and at the original linked article at

 2   https://cryptoleaks.info/case-no-3. Mr. Roche does not contest the authenticity of the video clips

 3   or that he did in fact make the statements contained therein. See Ex. 8 at ECF No. 232-1

 4   (Affidavit of Kyle W. Roche, In re Tether and Bitfinex Crypto Asset Litigation, 19-cv-9236

 5   (S.D.N.Y.) (“I deeply regret making many of the statements I made during these meetings”.).

 6   Accordingly, it is “appropriate to take judicial notice of this information, as it was made publicly

 7   available . . . and neither party disputes the authenticity of the [videos]”. Daniels-Hall v. Nat’l

 8   Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010).

 9          Exhibits 2 to 11 are true and accurate copies of pleadings, motions and letters filed in other

10   federal and state courts. Courts regularly take judicial notice of “undisputed matters of public

11   record, including documents on file in federal or state courts.” Harris v. Cty. Of Orange, 682 F.3d

12   1126, 1132 (9th Cir. 2012) (citing Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001));

13   see also Bogart v. Daley, No. CV 00-101-BR, 2001 WL 34045761, at *2 (D. Or. June 28, 2001)

14   (finding that a court may take judicial notice of “the existence and contents” of pleadings filed in

15   other actions). The contents of these documents are a matter of public record that are “not subject

16   to reasonable dispute [and are] capable of accurate and ready determination by resort to sources

17   whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2).

18   II.    CONCLUSION

19          For the foregoing reasons, Defendants respectfully request that Court take judicial notice

20   of Exhibits 1 through 11 to the Orsini Declaration.

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22    Dated:         October 4, 2022                CRAVATH, SWAINE & MOORE LLP
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